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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA

                                         )
TODD BARKLEY,                            )
                                         ) Case No.: 3:19-cv-00470-MCR-HTC
             Plaintiff.                  )
                                         )
      v.                                 )
                                         )
DIVERSIFIED ADJUSTMENT                   )
SERVICE, INC.,                           )
                                         )
                Defendant.               )

                          NOTICE OF SETTLEMENT

TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: November 8, 2019                By: /s/ Amy L. B. Ginsburg
                                         Amy L. B. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
                                         Ambler, PA 19002
                                         Phone: (215) 540-8888
                                         Fax: (877) 788-2864
                                         Email: aginsburg@creditlaw.com
     Case 3:19-cv-00470-MCR-HTC Document 10 Filed 11/08/19 Page 2 of 2




                       CERTIFICATE OF SERVICE

            I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via CM/ECF system:

                              Rachel M. Ortiz, Esquire
                          Shepard Smith Kohlmyer & Hand
                       2300 Maitland Center Parkway, Suite 100
                                 Maitland, FL 32751
                              rortiz@shepardfirm.com
                               Attorney for Defendant




Dated: November 8, 2019              By: /s/ Amy L. B. Ginsburg
                                       Amy L. B. Ginsburg, Esquire
                                       Kimmel & Silverman, P.C.
                                       30 E. Butler Pike
                                       Ambler, PA 19002
                                       Phone: (215) 540-8888
                                       Fax: (877) 788-2864
                                       Email: aginsburg@creditlaw.com
